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 8
 9                             UNITED STATES BANKRUPTCY COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12
      In re                                          )    Case No. 15-31141 HLB
13                                                   )
      NEWZOOM, INC.,                                 )    Chapter 11
14                                                   )
                                                     )
15                                                   )
                             Debtor.                 )
16                                                   )
                                                     )
17
              UNITED STATES TRUSTEE’S OBJECTION TO DEBTOR’S MOTION FOR
18                 APPROVAL OF KEY EMPLOYEE INCENTIVE PLAN AND
                             NON-INSIDER RETENTION PLAN
19
              Tracy Hope Davis, United States Trustee for Region 17, by and through her undersigned
20
     counsel, hereby objects to Debtor’s Motion For The Approval of Key Employee Incentive Plan
21
     and Non-Insider Retention Plan and Authorizing Payments Thereunder (“Motion”) [dkt. #119],
22
23   and requests the Court deny approval of the Motion for the reasons set forth herein.

24     I.     INTRODUCTION

25            The United States Trustee objects to the Motion on the grounds that the Debtor has not

26   satisfied its burden under 11 U.S.C. §§ 503(b)(1)(A) and 503(c) to demonstrate, inter alia, that

27   (i) payments under the Incentive Plans are not primarily retention payments to insiders, (ii) the

28   Incentive Plans are justified by the facts and circumstances of these cases, and (iii) the Incentive



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 1
     Plan represents the “actual, necessary cost of preserving the estate[s].” The United States
 2
     Trustee also objects to the Debtor’s assertion that the Incentive Plans are subject to review under
 3
     the business judgment rule.
 4
              Accordingly, and to prevent any undue prejudice or delay, the United States Trustee
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     requests an expedited hearing.
 6
       II.    STATEMENT OF FACTS
 7
                                                  Background
 8
              1.     Debtor NewZoom, Inc. filed a voluntary petition for relief under chapter 11 on
 9
     September 10, 2015.
10
              2.     On September 21, 2015, the United States Trustee appointed the Official
11
     Committee of Unsecured Creditors. See Notice [dkt. #21].
12
13            3.     No trustee or examiner has been appointed in this case. Debtor continues to

14   operate its business as debtor-in-possession pursuant to sections 1107(a) and 1108 of the

15   Bankruptcy Code.

16            4.     On October 9, 2015, Debtor schedules of assets and liabilities, and Statement of
17   Financial Affairs. See dkt. # 124 and 125.
18            5.     The meeting of creditors was held on October 20, 2015.
19                                     Plan and Disclosure Statement
20            6.     On September 22, 2015, Debtor filed its first Plan [dkt. #56] and Disclosure
21
     Statement [dkt. #57]. On October 23, 2015, Debtor filed Debtor’s Amended Chapter 11 Plan of
22
     Reorganization (“Amended Plan”) [dkt. #173] and the accompanying Disclosure Statement [dkt.
23
     #174].
24
              7.     On October 29, 2015, at a hearing on approval of Debtor’s Disclosure Statement,
25
     the Court approved the Debtor’s Disclosure Statement. The hearing to consider confirmation of
26
     Debtor’s Amended Plan is set for December 2, 2015.
27
28



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 1
            8.      Debtor’s motion to borrow [dkt. #10] was approved on a final basis by order
 2
     entered on October 16, 2015. See Final Order [dkt. #153]. Accordingly, Debtor is authorized to
 3
     borrow $3.7 million from its pre-petition lender, MIHI, LLC.
 4
                                             Summary of Relief
 5
            9.      On October 8, 2015, Debtor filed its Motion for authorization to implement the
 6
 7   following:

 8                      a. A performance-based key employee incentive plan (“KEIP”) and

 9                      b. A non-insider retention plan (“KERP” and, together with the KEIP, the

10                          “Incentive Plans”). Motion [dkt. #119].
11          10.     The total estimated cost of the Incentive Plans is $376,000 with $192,000 for the
12   KERP and $184,000 for the KEIP.
13                                         Summary of the KERP
14          11.     The KERP covers 13 non-insider employees, whose identity has been sealed.
15
     Debtor has not sought authority to file the sealed Exhibit A under 11 U.S.C. § 107.
16
            12.     The amount of the retention payout to each employee is also not disclosed.
17
            13.     To receive the retention payout, the eligible employee must be employed by the
18
     Debtor on the “Trigger Date”, which “shall mean the earliest of: (a) December 18, 2015, (b) the
19
     date than an order confirming a plan of reorganization is entered by the Bankruptcy Court; and
20
     (c) the closing date for sale of substantially all of the [Debtor’s] assets pursuant to Bankruptcy
21
     Code section 363. Motion, Ex. 1, p. 17 of 22 [dkt. #119].
22
23          14.     Payments made under the KERP are separate and apart from any payments due to

24   an eligible employee under any current or future severance agreement. Id.

25          15.     Payments made under the KERP “will be in lieu of any other post-petition

26   performance bonus or retention compensation otherwise payable” to the eligible employee.

27
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 1
                                              Summary of KEIP
 2
            16.     The amounts payable to each eligible employee under the KEIP has not been
 3
     disclosed. Motion, Ex. A.
 4
            17.     For payment under the KEIP, fifty percent of the amount designated for each
 5
     employee “shall be earned and payable on the Trigger Date, so long as (i) the Eligible KEIP
 6
 7   Employee remains employed by the [Debtor] on such date and (ii) the [Debtor] has complied

 8   with the DIP Budget and as of the Trigger Date . . .” Motion, Ex. 1, p. 18 of 22 [dkt. #119].

 9          18.     The remaining fifty percent of the amount designated for each employee “shall be

10   earned and payable upon either a Plan Approval or an Asset Sale, so long as the Eligible KEIP
11   Employee remains employed by the [Debtor] upon such date.” Id.
12          19.     Just as with the KERP payments, payments under the KEIP “will be in lieu of
13   other post-petition performance bonus or retention compensation” . . . and “shall not be lieu of
14   any severance payments” that may be due to the eligible employee under a current or future
15
     severance agreement. Id.
16
       III. THE UNITED STATES TRUSTEE HAS STANDING TO OBJECT
17
            The United States Trustee is charged with overseeing the administration of Chapter 11
18
     cases filed in this judicial district pursuant to 28 U.S.C. § 586. This duty is part of the United
19
     States Trustee’s overarching responsibility to enforce the bankruptcy laws as written by
20
     Congress and interpreted by the courts to guard against abuse and over-reaching, to assure
21
     fairness in the process and adherence to the provisions of the Bankruptcy Code. See United
22
     States Trustee v. Columbia Gas. Sys. Inc. (In re Columbia Gas Sys. Inc.), 33 F.3d 294, 295-96
23
     (3rd Cir. 1994).
24
            In addition, under 11 U.S.C. § 307, the United States Trustee has standing to be heard on
25
26   the Motion and the issues raised in this Objection.

27
28



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 1     IV. DEBTOR HAS FAILED TO DEMONSTRATE THE INCENTIVE PLANS
           COMPLY WITH LIMITS IMPOSED ON INSIDER PAYMENTS UNDER 11
 2
           U.S.C. § 503(C).
 3          Section 503(c) imposes limits on the ability of a debtor to make transfers to insiders.
 4   Under section 503(c)(1), the Debtor must “based upon evidence in the record,” demonstrate all
 5   three of the required elements of section 503(c)(1), which provides, in pertinent part, as follows:
 6
                    (c) Notwithstanding subsection (b), there shall neither be allowed,
 7                  nor paid—
 8                  (1) a transfer made to, or an obligation incurred for the benefit of,
 9                  an insider of the debtor for the purpose of inducing such person to
                    remain with the debtor’s business, absent a finding by the court
10                  based on evidence in the record that—
                    (A) the transfer or obligation is essential to retention of the person
11                  because the individual has a bona fide job offer from another
12                  business at the same or greater rate of compensation;
                    (B) the services provided by the person are essential to the survival
13                  of the business; and
                    (C) either—
14                           (i) the amount of the transfer made to, or obligation
15                           incurred for the benefit of, the person is not greater than an
                             amount equal to 10 times the amount of the mean transfer
16                           or obligation of a similar kind given to nonmanagement
                             employees for any purpose during the calendar year in
17                           which the transfer is made or the obligation is incurred; or
18                           (ii) if no such similar transfers were made to, or obligations
                             were incurred for the benefit of, such nonmanagement
19                           employees during such calendar year, the amount of the
                             transfer or obligation
20                           is not greater than an amount equal to 25 percent of the
21                           amount of any similar transfer or obligation made to or
                             incurred for the benefit of such insider for any purpose
22                           during the calendar year before the year in which such
                             transfer is made or obligation is incurred;
23
            Congress added Section 503(c) in 2005 to curtail payments of retention incentives to
24
     insiders to “‘eradicate the notion that executives were entitled to bonuses simply for staying with
25
     the Company through the bankruptcy process.’” In re Residential Capital LLC, 478 B.R. 154,
26
     169 (Bankr. S.D.N.Y. 2012) (“Rescap”) (quoting In re Global Home Prods., LLC, 369 B.R. 778,
27
     784 (Bankr. D. Del. 2007)); accord In re Hawker Beechcraft, Inc., 479 B.R. 308, 312-13 (Bankr.
28
     S.D.N.Y. 2012); In re Velo Holdings, Inc., 472 B.R. 201, 209 (Bankr. S.D.N.Y. 2012). In


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 1
     addition, Congress intended to limit the scope of key employee retention plans (“KERP”) and
 2
     other programs providing incentives to management of the debtor as a means of inducing
 3
     management to remain employed by the debtor. Rescap, 478 B.R. at 169. Congress intended to
 4
     put into place “a set of challenging standards” for debtors to overcome before retention bonuses
 5
     could be paid. Global Home, 369 B.R. at 784.
 6
            Debtor has the burden of demonstrating that the proposed Incentive Plans comply with
 7
     the requirements of section 503(c)(1). The proponent of a bonus plan has the burden of showing
 8
     that the plan is not a retention plan governed by Section 503(c)(1). Hawker Beechcraft, 479 B.R.
 9
     at 313; Rescap, 478 B.R. at 170.
10
            A. Debtor Has Failed to Demonstrate that Section 503(c)(1) and (2) Do Not Apply
11             to Incentive Plans
12          Debtor contends that section 503(c)(1) and (2) do not apply to the Incentive Plans
13   because, in the case of the KERP, only non-insider employees are eligible, and in the case of the
14   KEIP, the plan is an incentive plan with performance-based metrics.
15              1.   Debtor Has Withheld Full and Public Disclosure Identity of Employees it
                     Contends are Non-Insiders
16
            Debtor asserts the KERP is a retention plan for thirteen non-insider employees, but it is
17
     impossible to ascertain based upon the Debtor’s disclosures because it has unilaterally sealed the
18
     identity of the eligible employees by stating on Exhibit A “REDACTED”. This self-sealing
19
     poses two significant hurdles to approval. First, without the disclosure of the identity, job
20
     description, and title of the employees eligible under the KERP, the eligible employee’s status as
21
     an insider cannot be ascertained. Debtor cannot satisfy its burden of demonstrating that the
22
     KERP does not fall within the limits of section 503(c) without disclosing the necessary
23
     information to determine whether the eligible employee falls within the definition of an insider
24
     under 11 U.S.C. § 101(31). Section 503(c)(1) requires there be “evidence in the record” to
25
     evaluate such transfer falls within the ambit of subsection (c)(1).
26
            Second, Debtor has sealed portions of its Motion without complying with section 107.
27
     Section 107(a) creates a presumption in favor of transparency such that “a paper filed in a case
28
     under this title and the dockets of a bankruptcy court are public records” subject to examination


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 1
     by any person, government unit, and United States Trustee. 11 U.S.C. §§ 101(15) and 107(a).
 2
     Section 107 applies to any document filed in any bankruptcy case. Gitto v. Worcester Tel. &
 3
     Gazette Corp. (In re Gitto Global Corp.), 422 F.3d 1, 7 (1st Cir. 2005). This presumption in
 4
     favor of open access “evidences congress’s strong desire to preserve the public’s right of access
 5
     to judicial records in bankruptcy proceedings.” Video Software Dealers Assoc. v. Orion Pictures
 6
     Corp. (In re Orion Pictures Corp.), 21 F.3d 24 (2nd Cir. 1994). As the United States Court of
 7
     Appeals for the Ninth Circuit recently confirmed, “courts have ‘recognize[d] a general right to
 8
     inspect and copy public records and documents, including judicial records and documents.’”
 9
     Oliner v. Kontrabecki, 745 F.3d 1024, 1025 (9th Cir. 2014) (internal citation omitted). See also
10
     In re Gitto 422 F.3d at 7 (citing In re Crawford, 194 F.3d 954, 960 (9th Cir. 1999)). Given
11
     Congress’ intent to limit the scope of KERPs and to achieve transparency in the bankruptcy
12   process, the information provided by the Debtor falls short.
13
                2. The KEIP Is A Retention Plan
14
            Debtor contends the KEIP is a performance-based incentive plan designed to “provide
15
     targeted payments to certain employees if they meet certain objective performance criteria that
16   are core to the outcome of this bankruptcy case.” Motion, § V(B)(2). The Motion, however,
17   fails to contain information sufficient to demonstrate that the targets are meaningful and
18   “difficult to reach.” Dana Corp. 358 B.R. 567, 583 (Bankr. S.D.N.Y. 2006). In Rescap, the
19   bankruptcy court recognized that “triggering bonus awards solely on the basis of a sale
20   transaction, confirming a reorganization plan or exiting bankruptcy are not sufficient to shift
21   consideration of a plan providing for payments to insiders from section 503(c)(1) to section
22   503(c)(3).” Rescap, 478 B.R. at 168. Rather, there should be difficult targets or hurdles
23   connected with such events.
24          The performance benchmarks for the KEIP are nearly certain to occur. Under the KEIP,
25   fifty percent of the payment amount is “earned and payable” on the Trigger Date, which is the
26   earliest of December 18, 2015, the date an order confirming a plan of reorganization is entered
27   by the Bankruptcy Court, and the closing date of a sale of substantially all assets under section
28



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 1
     363. To be eligible for payment, the employee must remain employed with the Debtor and the
 2
     Debtor must have complied with the DIP Budget through the Trigger Date.
 3
            By the time this Motion was filed seeking approval of the KEIP, the Debtor had already
 4
     filed its Plan and Disclosure Statement and set a tentative schedule for confirmation of that Plan.
 5
     That schedule remains unchanged in any material way since the Motion was filed. These are not
 6
     challenging performance measures.
 7
            B. Debtor’s Reliance On the Business Judgment Standard is Misplaced
 8
            Debtor urges the Court to apply the business judgment test to satisfy section 363(b) and
 9
     503(c)(3). This is not the correct legal standard. Section 503(c)(3) requires the Debtor to show
10
     that the Incentive Plans are “justified by the facts and circumstances of the case.” 11 U.S.C. §
11
     503(c)(3). The reference to section 503(b) in subsection (c)(3) limits payments to those which
12
     may be allowed as an administrative expense under subsection (c). Administrative expenses may
13
     not be allowed unless such expenses are “actual and necessary to preserve the estate.”
14
     Accordingly, Debtor must demonstrate that the Incentive Plans are necessary to preserve the
15
     value of the Debtor’s estate and are “justified by the facts and circumstances of the case.”
16
            The Incentive Plans are in name only. The KEIP is a disguised retention plan wholly
17
     lacking in any meaningful performance-based measures. The record before this Court is
18
     insufficient to apply the analysis required by section 503(c).
19
       V.   CONCLUSION
20
            WHEREFORE, the United States Trustee requests that the Court deny Motion, and grant
21
     such other relief as is just and appropriate under the circumstances.
22
23   Dated: October 29, 2015                       TRACY HOPE DAVIS
                                                   UNITED STATES TRUSTEE
24
                                                    /s/ Julie M. Glosson_______
25                                                 Trial Attorney
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